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                            UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                     www.flsb.uscourts.gov

In re: MICHAEL JOHN HISCANO                             Case No: 19-22364-RAM
                                                        Chapter 13



                          Debtor      /


     NOTICE OF COMPLIANCE BY ATTORNEY FOR DEBTOR WITH LOCAL RULE
                  2083-1(B) CLAIMS REVIEW REQUIREMENT

       The undersigned attorney for debtor certifies that a review of the claims register
and all claims filed in the above referenced case has been completed in accordance
with Local Rule 2083-1(B) and that:

1)               No further action is necessary.

2)      The following actions have been taken:

                 The debtor has filed an objection to the proof of claim filed by
                                   .

                The debtor has filed a 3rd amended plan or modified plan to provide for
                 the proof of claims filed by Claim # 1: Capital One Bank (USA), N.A.,
                 Claim # 2: Department of the Treasury – Internal Revenue Service, and
                 Claim # 3: Forethought Life Insurance Company.

                 Other:

                                                                                           .

      A copy of this certificate of compliance was served on the chapter 13 trustee via
the NEF and the debtor via U.S. Mail on September 8, 2020.


                                             Submitted by: /s/ Mandy L. Mills
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